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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

GILBERT SANCHEZ                                 §
                                                §
                                                §
VS.                                             §         CA NO. 4:19−cv−00110
                                                §
                                                §
ENTERPRISE OFFSHORE DRILLING                    §
LLC AND SMART FABRICATORS OF                    §
TEXAS, LLC                                      §

                                      NOTICE OF APPEAL

       Plaintiff Gilbert Sanchez appeals to the United States Court of Appeals for the Fifth

Circuit from the following orders issued by this Court:

           1. March 25, 2019 Memorandum and Order denying Sanchez’s motion to
              remand (Doc. 19);

           2. June 18, 2019 Memorandum and Opinion granting summary-judgment
              against Sanchez (Doc. 26); and

           3. June 18, 2019 Final Judgment (Doc. 27).
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                                           Respectfully submitted,

                                           THE BUZBEE LAW FIRM

                                           By: /s/ Andrew Dao
                                               Anthony G. Buzbee
                                               State Bar No. 24001820
                                               Federal Bar No. 22679
                                               Andrew Dao
                                               State Bar No. 24082895
                                               Federal Bar No. 2368172
                                               Cornelia Brandfield-Harvey
                                               State Bar No. 24103540
                                               Federal Bar No. 3323190
                                               JPMorgan Chase Tower
                                               600 Travis Street, Suite 7300
                                               Houston, Texas 77002
                                               Tel: (713) 223-5393
                                               Fax: (713) 223-5909
                                               tbuzbee@txattorneys.com
                                               adao@txattorneys.com
                                               cbrandfield-harvey@txattorneys.com
                                               www.txattorneys.com

                                           ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been duly
served upon all known counsel of record in accordance with the Federal Rules of Civil Procedure
on July 16, 2019.


                                                          /s/ Andrew Dao
                                                          Andrew Dao




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